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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

  MELODY A. KLOEPFER,

          Plaintiff,                                              CASE NO.:

  vs.

  THE DISTRICT BOARD OF TRUSTEES
  OF PALM BEACH STATE COLLEGE,
  FLORIDA,

        Defendant.
  ____________________________________/

                                              COMPLAINT

          COMES NOW the Plaintiff, MELODY A. KLOEPFER (hereinafter “KLOEPFER”), by

  and through the undersigned Counsel, and sues the Defendant, THE DISTRICT BOARD OF

  TRUSTEES OF PALM BEACH STATE COLLEGE, FLORIDA (hereinafter “PBSC”), for

  violations of Title IX of the Education Amendments of 1972. In support thereof, Plaintiff states as

  follows:

                                    JURISDICTION AND VENUE

          1.      This is a civil action with damages that exceed Thirty Thousand Dollars

  ($30,000.00), exclusive of interest and costs.

          2.      This Court is vested with federal question jurisdiction over KLOEPFER’s claims

  arising under Title IX of the Education Amendments of 1972, 20 U.S.C. §1681 (“Title IX”).

          3.      Venue lies within the Southern District of Florida, West Palm Beach Division,

  pursuant to 28 U.S.C. §§ 1391(b) and (c), because all actions relevant to KLOEPFER’s claims

  arose in this Judicial Circuit.

          4.      Plaintiff has satisfied all conditions precedent to filing this action.

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                                                 PARTIES

         5.       KLOEPFER is a resident of Palm Beach County, Florida, over the age of eighteen

  years, and otherwise sui juris.

         6.       KLOEPFER is female and was a student at all material times hereto, and as such,

  is and was a member of a group protected under Title IX.

         7.        At all times material hereto, THE DISTRICT BOARD OF TRUSTEES OF PALM

  BEACH STATE COLLEGE, FLORIDA is and was authorized, operating, and licensed to do

  business in the State of Florida.

         8.       PBSC is an accredited, private not-for-profit university offering associate’s and

  bachelor’s degree programs online and on-campus, with more than fifteen (15) employees.


                                      GENERAL ALLEGATIONS

         9.       Beginning in the Fall 2020 semester, Plaintiff, KLOEPFER, was enrolled as a

  student in PBSC’s Respiratory Care Program.

         10.      During her enrollment and participation in the program, KLOEPFER performed

  exceedingly well, scoring A grades in all of her courses.

         11.      However, throughout the Spring 2021 semester, KLOEPFER witnessed ongoing

  discriminatory and inappropriate conduct towards female students from one of her male professors

  in the program, Adjunct Professor Sheriff Nartey. Such discriminatory treatment witnessed and

  experienced throughout the semester included, without limitation:

               a. Professor Nartey regularly and repeatedly raised his voice toward female students

                  in front of the rest of the class;

               b. Professor Nartey advised a female student to “whisper answers in his ear”;




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               c. Professor Nartey conducted exams alone with a female student, who later reported

                  feeling uncomfortable with the interactions;

               d. Professor Nartey bragged to female students about his successful business while

                  alone with those students; and

               e. Professor Nartey openly stared at a female student’s backside, which was observed

                  directly by KLOEPFER.

         12.      Not only did KLOEPFER witness the above referenced inappropriate conduct

  towards female students while in the program, but she also experienced much of this gender

  discrimination first-hand, stemming from Professor Nartey and condoned by PBSC’s faculty

  members and staff.

         13.      As a result of the ongoing discriminatory treatment and sexual harassment toward

  female students by Professor Nartey, KLOEPFER reported his inappropriate conduct to PBSC by

  submitting a written complaint to Stephanie Parlamento, the Program’s Director of Clinical

  Education. In the written complaint, KLOEPFER expressed some of her concerns regarding

  Professor Nartey’s conduct.

         14.      Specifically, on May 2, 2021, KLOEPFER expressed her concerns to Ms.

  Parlamento and described how Professor Nartey would make comments to female students while

  he was alone with them during exams. She also noted that Professor Nartey would constantly and

  obviously gaze upon female students’ backsides or try to brag about his “Amazon business” that

  was making him millions of dollars in an attempt to impress his female students. KLOEPFER

  made clear that she was seeking for boundaries to be reinforced between Professor Nartey and his

  female students, particularly when Professor Nartey was to be alone with female students.




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         15.       The reporting email was then forwarded by Ms. Parlamento to Dr. Nancy Latimer,

  the Department Chair and Program Director, who confirmed that she understood the written

  complaint to be allegations of “sexual harassment”. KLOEPFER was subsequently informed that

  her concerns were going to be addressed and investigated by the Dean of Student Services for

  further analysis.

         16.       On May 4, 2021 and upon request, KLOEPFER provided additional details

  regarding her complaints of sexual harassment against Mr. Nartey via phone call with Penny

  McIssac, PBSC’s Title IX Coordinator.

         17.       On May 11, 2021, KLOEPFER sat for her final exam in Professor Parlamento’s

  lecture class, which was written, and her lab final in Mr. Nartey’s class, which included a written

  and a hands-on section over the same material. Upon scoring a 97% (146 out of 150 correct

  questions answered) on the written portion of the exam in Professor Parlamento’s lecture class and

  being advised that she was “flawless” on the written portion of the lab final, KLOEPFER was

  awarded an overall failing grade in Mr. Nartey’s lab due to allegedly failing the hands-on section.

         18.       On May 12, 2021, KLOEPFER, Professor Nartey, Dr. Latimer, and the Associate

  Dean, Dr. Becky Mercer, had a meeting to discuss the failing grade.

         19.       In an effort to understand the discrepancy in her performance, KLOEPFER

  questioned Professor Nartey’s grading on May 12, 2021, and asked him to identify the faults in

  her lab final exam. Upon her request, Professor Nartey stated a handful of allegations including

  the following:

               a. KLOEPFER had allegedly selected a 2cm H2O PEEP setting. This claim was made

                   despite the fact that Mr. Nartey provided the setting and KLOEPFER’s extensive

                   knowledge of this material, none of her study documents indicating that incorrect



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                   setting, and previously performing setting inputs correctly throughout the entirety

                   of the semester;

                b. KLOEPFER inadequately verbalized an explanation of the Bilevel positive airway

                   pressure (“BiPAP”) procedure on a mannequin. This claim was made although

                   Professor Nartey explicitly stated prior to the start of the lab final exam that the

                   exam was to be completed in silence. Moreover, KLOEPFER is under the belief

                   that other students performed the exam in silence and were not penalized; and

                c. KLOEPFER failed to remove the BiPAP mask prior to setting up the ventilator.

                   Professor Nartey alleged that this cost KLOEPFER a significant amount of points

                   on her exam although KLOEPFER believes other students who made similar errors

                   during the exams were not deducted points in a similar manner.

         20.       Despite the falsity and/or minuteness of KLOEPFER’s alleged errors, other

  students who completed the lab final exam and had not made complaints against Professor Nartey

  were not similarly penalized.

         21.       Due to Professor Nartey’s retaliatory actions stemming from KLOEPFER’s

  reporting of discrimination and sexual harassment, Professor Nartey’s subjective grading of

  KLOEPFER’s hands-on portion of the lab final exam decreased her overall grade in the class to

  seventy-one (71%) percent.

         22.       Due to program requirements, a grade of 71% in this course would force

  KLOEPFER out of the Respiratory Care Program. As such, KLOEPFER sought to retake the lab

  final exam.

         23.       Rather than to allow KLOEPFER to discuss and express her concerns regarding

  Professor Nartey’s retaliatory behavior, PBSC’s faculty members, including those who directly



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  received KLOEPFER’s complaint including Dr. Latimer, continued to target and retaliate against

  KLOEPFER, refusing to allow her to retake the hands-on portion of the lab final exam with

  another, unbiased professor despite her record of excellent grades in all other courses and her

  profound commitment to the program.

           24.   On May 13, 2021, Dr. Mercer emailed KLOEPFER to inform her that her grade

  had been reviewed in detail that morning. Dr. Mercer included a link for KLOEPFER to file a

  formal grade appeal. Dr. Mercer copied Dr. Latimer and Professor Nartey on the email.

           25.   In response, on May 14, 2021, KLOEPFER emailed Dr. Mercer requesting a deeper

  investigation into the matter and further expanding upon the discriminatory treatment she had been

  subjected to as a result of expressing her concerns about Professor Nartey’s conduct before the

  final.

           26.   The same day, May 14, 2021, KLOEPFER filed a Request for a Formal Review of

  Final Course Grade. In her request, KLOEPFER specified that she had brought up concerns

  regarding Professor Nartey’s behavior in class prior to the exam and noted that she believed this

  grading was done unfairly and unjustly as a result of reporting such concerns.

           27.   PBSC, via Dr. Mercer, who at this time was well aware of KLOEPFER’s

  allegations of retaliation at the hands of Professor Nartey, responded to KLOEPFER’s Request for

  a Formal Review of Final Course Grade on May 19, 2021, by denying the appeal and confirming

  that KLOEPFER’s grade would remain unchanged.

           28.   Upon receipt of the denial, KLOEPFER requested grading rubrics and/or a hard

  copy of her lab final exam to justify her failing grade in order for her to complete a Final Course

  Grade Appeal by the May 26, 2021 deadline imposed by the May 19, 2021 Response Letter.




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         29.     PBSC denied KLOEPFER’s request and failed to provide any documentation,

  grading rubrics or a copy of KLOEPFER’s lab final exam to justify her failing grade.

         30.     Notwithstanding, KLOEPFER escalated her concerns and filed a Final Course

  Grade Appeal on May 25, 2021. Relying on the direction given by PBSC, KLOEPFER focused

  said appeal on why KLOPFER believed there was no basis for Professor Nartey giving

  KLOEPFER a failing grade on the exam. KLOEPFER provided supporting information pertaining

  to her stature as a successful student who was treated unfairly and requested the course be removed

  from her transcript. PBSC, through KLOEPFER’s prior formal complaints and grade appeals,

  knew or should have known about KLOEPFER’s claims of retaliation for reporting inappropriate

  conduct and sexual harassment.

         31.     On June 9, 2021, PBSC issued KLOEPFER a response to her Grade Appeal, signed

  by Edward Willey, and copying Dr. Mercer and Professor Nartey. The Response stated that PBSC

  was upholding the grade as awarded. Like the May 15, 2019 Response Letter, this Response did

  not include any details of any pending investigation or address KLOEPFER’s concerns of

  retaliation despite PBSC’s knowledge of the basis for KLOEPFER’s claims and the grade appeal.

         32.     As a result of PBSC’s refusal to allow KLOEPFER to retake the hands-on portion

  of the lab final exam with an unbiased professor or to remove the course from her transcript,

  KLOEPFER was unable to meet the program’s academic requirements and was removed from

  PBSC and its Respiratory Care Program.

         33.     On June 12, 2021, KLOEPFER filed a yet another complaint directly to PBSC

  through a “Student Problem Resolution Form” alleging Professor Nartey targeted and retaliated

  against her following her complaints. This further provided direct knowledge to PBSC of




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  KLOEPFER’s concerns of retaliation following her reporting of Professor Nartey’s inappropriate

  conduct toward female students.

         34.     Subsequently, weeks after removing KLOEPFER from the Respiratory Care

  Program at PBSC and following KLOEPFER’s repeated efforts to address her wrongful treatment,

  PBSC offered KLOEPFER readmission to restart the program the following year, Fall 2022. In

  doing so, PBSC made no other representation of addressing KLOEPFER’s concerns of sexual

  harassment toward other female students or the retaliatory actions of Professor Nartey.

         35.     At this time, following the constant discriminatory treatment, retaliation, and

  continued harassment endured in her attempts to be reinstated and PBSC’s refusal to address the

  illegal conduct by a PBSC adjunct professor and PBSC administrators, KLOEPFER, who was

  already in the process of applying and transferring to another program at another institution,

  declined.

         36.     On July 7, 2021, PBSC advised KLOEPFER, via letter, that the investigation was

  complete and that no further action would be taken. Again, PBSC neglected to address

  KLOEPFER’s concerns about Mr. Nartey’s discriminatory and sexual actions towards female

  students.

         37.     KLOEPFER proceeded to file a claim against PBSC with the United States

  Department of Education, Office for Civil Rights on August 4, 2021, referencing PBSC’s

  negligence in failing to hold Professor Nartey responsible for his acts of discrimination and sexual

  harassment, PBSC’s failure to protect KLOEPFER, and PBSC’s retaliation against KLOEPFER

  after she expressed her concerns of said discriminatory treatment and potential ongoing sexual

  harassment by an adjunct professor at PBSC.




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          38.     PBSC has continuously failed to accurately investigate and address KLOEPFER’s

  complaints of sexual harassment and protect KLOEPFER and other female students from sexual

  harassment and gender discrimination. Instead, PBSC retaliated against KLOEPFER, upholding

  the subjective and retaliatory grade she received from Professor Nartey, which ultimately led to

  her removal from PBSC’s Respiratory Care Program.

                              COUNT I – VIOLATION OF TITLE IX
                                        RETALIATION

          39.     Plaintiff, KLOEPFER, realleges and incorporates by reference the allegations in

  paragraphs 1 through 38 above as if fully set forth herein.

          40.     Under Title IX of the Education Amendments of 1972, “[n]o person… shall, on the

  basis of sex, be… subjected to discrimination under any education program… receiving Federal

  financial assistance.” 20 U.S.C. § 1681(a).

          41.     Title IX prohibits such sex-based discrimination in education programs and

  activities receiving Federal financial assistance. 20 U.S.C. § 1681 et seq. Title IX applies to all

  public and private educational institutions that receive federal funds, including colleges and

  universities.

          42.     PBSC is an education institution that receives federal funds and, therefore, is bound

  by Title IX and its regulations.

          43.     “When a funding recipient retaliates against a person because he complaints of sex

  discrimination, this constitutes intentional ‘discrimination’ ‘on the basis of sex,’ in violation of

  Title IX.” Jackson v. Birmingham Board of Education, 544 U.S. 167 (2005).

          44.     KLOEPFER is a member of a protected class of female students.

          45.     KLOEPFER, at all times relevant, was qualified to be a student in PBSC’s

  Respiratory Care Program and excelled throughout the program.

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           46.    KLOEPFER engaged in protected actions under Title IX. Specifically, KLOEPFER

   reported Professor Nartey’s inappropriate comments and harassment toward female students to

   PBSC.

           47.    PBSC reviewed, interpreted, and accepted KLOEPFER’s report as a complaint of

   ongoing sexual harassment.

           48.    Due to KLOEPFER’s protected actions of reporting, Professor Nartey and PBSC

   retaliated against KLOEPFER by, among other things, creating a hostile and uncomfortable

   learning environment for KLOEPFER, issuing KLOEPFER poor, subjective grades, reprimanding

   KLOEPFER, and, ultimately, removing her from PBSC’s Respiratory Care Program.

           49.    KLOEPFER reported inappropriate, sexual comments being made to female

   students by Professor Nartey on multiple occasions in May 2021.

           50.    Shortly after Professor Nartey became aware of KLOEPFER’s reporting, Professor

   Nartey retaliated and inappropriately and subjectively graded KLOEPFER’s hands-on portion of

   her lab final exam with a failing score, which inadvertently decreased her overall grade in the class

   to seventy-one (71%) percent.

           51.    As such, Professor Nartey’s retaliatory action and falsified claims forced

   KLOEPFER out of the Respiratory Care Program.

           52.    PBSC students who did not report sexual harassment were treated more favorably

   than KLOEPFER. Namely, students who did not report the harassment were not subjected to

   sudden and unwarranted failing marks, a hostile learning environment, and removal from the

   Respiratory Care Program.




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          53.     KLOEPFER reported the retaliation repeatedly throughout the Grade Appeal

   process, yet PBSC failed to acknowledge and address each of those expressed concerns of

   retaliation and unjust treatment.

          54.     PBSC failed to appropriately address KLOEPFER’s complaints about Professor

   Nartey and has opted to allow Professor Nartey to remain employed by PBSC without

   repercussions, thus, failing to protect current female students attending the institution.

          55.     PBSC then further the retaliation throughout the grade appeal process, refusing to

   acknowledge KLOEPFER’s reports of retaliation and upholding the retaliatory conduct of

   Professor Nartey.

          56.     The conduct of PBSC in retaliating against KLOEPFER because of her protected

   activity in reporting sexual harassment and discrimination was intentional and done with

   knowledge. PBSC engaged in this discriminatory practice with malice or with reckless indifference

   to the federally protected rights of KLOEPFER.

          57.     As a direct and proximate result of PBSC’s actions, KLOEPER has suffered and

   will continue to suffer loss of tuition payments made to PBSC, increased tuition payments made

   to a new educational institution, loss of potential salary, damage to her career and reputation,

   personal humiliation, mental anguish, and embarrassment.

          58.     KLOEPFER has been required to retain the legal services of the undersigned

   counsel to enforce her rights under Title IX and is required to pay her attorneys a reasonable fee

   for services rendered in this cause.

                                          PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, MELODY KLOEPFER, demands judgment against Defendant,

   PBSC, and requests the following relief:



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            1. Enter judgment in favor of KLOEPFER for PBSC’s violations of Title IX.

            2. Award KLOEPFER actual damages suffered;

            3. Award compensatory damages, including front pay, to KLOEPFER for the years

                she could have worked absent PBSC’s discriminatory treatment;

            4. Award to KLOEPFER all costs and reasonable attorney’s fees incurred in

                connection with this action;

            5. Award prejudgment interest on all monetary recovery obtained;

            6. An injunction permanently enjoining PBSC, its officers, agents, employees, assigns

                and all persons in active concert of participation with them from engaging in any

                employment practice which discriminates on the basis of gender; and

            7. Grant such additional or alternative relief as may appear to the court to be just and

                equitable.

                                    JURY TRIAL DEMAND

         Plaintiff, MELODY KLOEPFER, demands a trial by jury on all issues so triable.

   Dated August 17, 2022.

                                               Respectfully submitted,

                                               By: s/Gregory S. Sconzo
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